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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON




KRISTYN DAWSON, an individual,
                                                    No. 3:16-cv-01427-HZ
            Plaintiff,
                                                    OPINION & ORDER
      v.

BANK OF NEW YORK MELLON, a
Delaware corporation; BANK OF
AMERICA, N.A. and its subsidiaries
including aka Bank of America Loan
Servicing, LP, Countrywide Financial
Corporation, and Countrywide Home
Loans, Inc.; DITECH FINANCIAL, LLC
as successor by merger to Green Tree
Servicing LLC,

            Defendants.


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HERNÁNDEZ, District Judge:

         Plaintiff, Kirstyn Dawson, brings this action against Defendants The Bank of New York

Mellon (“BONYM”), Bank of America, N.A. (“BANA”), and Ditech Financial, LLC (“Ditech”),

challenging their right to foreclose on her home and their treatment of her loan modification

applications. Plaintiff asserts four claims. First, she seeks declaratory relief voiding her deed of

trust (“DOT”) and an order preventing non-judicial foreclosure on her property. Second, she

asserts that BANA and Ditech intentionally interfered with her economic relationships with the

beneficiaries of the DOT and promissory note (“Note”). Third, Plaintiff asserts that all

Defendants violated the Oregon Unfair Trade Practice Act (“OUTPA”) in the loan modification

process. Finally, she asserts a claim for breach of the implied covenant of good faith and fair

dealing against all Defendants. BANA now moves to dismiss Plaintiff’s claims against all

Defendants.

                                                BACKGROUND

         The facts below are taken from Plaintiff’s Complaint and judicially-noticed documents.1

On July 25, 2005, Plaintiff took out a $288,000 loan on her property located in Sandy, Oregon.

Compl. ¶ 6, ECF 1. The DOT designated America’s Wholesale Lender (“AWL”) as the Lender,

1
 The Court previously granted Defendants’ request to judicially notice certain documents relating to Plaintiff’s
claims. August 25, 2016, Minute Order, ECF 45.


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Ticor Title as the trustee, and Mortgage Electronic Registration Systems, Inc. (“MERS”) as the

beneficiary of the security instrument. Laurick Decl. Ex. A, 1, ECF 44. In 2009, Plaintiff

contacted BANA, the servicer of her loan, because her loan’s interest rate was set to increase.

Compl. ¶ 9. Plaintiff was unable to refinance her loan with BANA and fell behind in making her

loan payments for the first half of 2010. Id. at ¶ 10–11. In late 2010, BANA sent a foreclosure

notice to Plaintiff but she was able to bring the loan current by cashing out her 401(k). Id. at

¶ 12. Once more, Plaintiff was unable to modify her loan, she fell behind in making her

payments, and BANA sent her a notice of foreclosure in August of 2011. Id. at ¶ 13–14. BANA

also denied Plaintiff’s applications for alternative programs to avoid foreclosure. Id. At the same

time, MERS made a recorded assignment of Plaintiff’s Note and DOT to BONYM. Id. at ¶ 6.

       Sometime in 2013, MERS made a second recorded assignment of the Note and DOT to

BONYM. Compl. ¶ 6. In September of 2013, BANA informed Plaintiff that she might qualify

for a modification and invited her to apply for one. Compl. Exh. 1, 1. Plaintiff applied and

BANA denied her application. Compl. ¶ 18. BANA solicited Plaintiff again in 2014 for a

different modification program and once more denied her application. Id. at ¶ 19. Additionally,

in 2014 BONYM entered into an agreement with Green Tree Servicing LLC (“Green Tree”)

granting the latter power to foreclose on certain delinquent mortgages, including Plaintiff’s loan.

Id. at ¶ 20. Plaintiff applied for and was denied a loan modification with Green Tree. Id. at ¶ 22.

Green Tree has subsequently become Defendant Ditech via merger. Id. at ¶ 5.

       In March of 2016, Plaintiff received notice of a non-judicial foreclosure on her property

with a sale date schedule for July 22, 2016. Compl. ¶ 16. The sale of her property has

subsequently been cancelled during the course of this litigation. Plaintiff now seeks to invalidate




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her DOT on several grounds, prevent foreclosure on her home, and obtain monetary relief for

Defendants’ alleged misconduct in the loan modification process.

                                            STANDARDS
          To survive a motion to dismiss, a complaint “must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face[,]” meaning “when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(internal quotation marks omitted). Additionally, “only a complaint that states a plausible claim

for relief survives a motion to dismiss.” Id. at 679. A complaint must contain “well-pleaded

facts” which “permit the court to infer more than the mere possibility of misconduct.” Id. at 679.

In evaluating the sufficiency of a complaint’s factual allegations, the court must accept all

material facts alleged in the complaint as true and construe them in the light most favorable to

the non-moving party. Wilson v. Hewlett–Packard Co., 668 F.3d 1136, 1140 (9th Cir. 2012).

“Factual allegations must be enough to raise a right to relief above the speculative level on the

assumption that all the allegations in the complaint are true (even if doubtful in fact)[.]” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citations and footnote omitted). However, the

court need not accept unsupported conclusory allegations as truthful. Holden v. Hagopian, 978

F.2d 1115, 1121 (9th Cir. 1992). A motion to dismiss under Rule 12(b)(6) will be granted if a

plaintiff alleges the “grounds” of his “entitlement to relief” with nothing “more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action.” Twombly, 550 U.S.

at 555.

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                                         DISCUSSION


I.     Claim I: Declaratory Judgment

       Plaintiff makes two arguments supporting her requests for declaratory judgment: (1)

AWL was not a valid legal entity; and (2) MERS was not the proper beneficiary of the DOT.

BANA contests Plaintiff’s first claim, arguing that AWL is merely an assumed business name of

Countrywide Home Loans, Inc. (“Countrywide”), BANA’s predecessor in interest. Second,

BANA argues that MERS had the capacity to act on behalf of the DOT’s beneficiary and

alternatively, the DOT was valid notwithstanding it’s designation of MERS as the beneficiary.

       A.      America’s Wholesale Lender

       AWL was and continues to be a valid legal entity. Plaintiff argues that the DOT is void

because AWL was a non-existent entity and not the true lender. Under Oregon law, a business

entity is permitted to do business under an assumed business name. Or. Rev. Stat. (“O.R.S.”)

§ 648.005(1)(a). Plaintiff urges the Court not to consider documents outside of the Note and

DOT to determine the identity of the true lender at this stage in the case. However, the Court

previously took judicial notice of three documents: (1) the DOT; (2) the Business Entity Data for

AWL from the Oregon Secretary of State; and (3) the Business Entity Date for Countrywide

from the same source. See Def. BANA’s RJN, ECF 40; August 25, 2016, Minute Order. These

documents demonstrate that AWL is an assumed business name of Countrywide and that AWL

has been registered with the Oregon Secretary of State since 1995. Def. BANA’s RJN, Ex. B.

       Indeed, other courts have considered the same question and concluded that the fact that

AWL is Countrywide’s assumed business name cannot be disputed. Tyshkevich v. Wells Fargo

Bank, N.A., No. 2:15-cv-2010 JAM AC (PS), 2016 WL 193666, at *10 (E.D. Cal. Jan. 15, 2016)

(recognizing that AWL is a fictitious business name for Countrywide), report and



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recommendation adopted, No. 2:15-cv-2010 JAM AC (PS), 2016 WL 1162687 (E.D. Cal. Mar.

24, 2016); Bashore v. Bank of Am., No. 4:11cv93, 2012 WL 629060, at *3 (E.D. Tex. Feb. 27,

2012) (holding that Countrywide “filed an assumed name certificate for [AWL] three years

before Plaintiff signed the mortgage documents here. The Court finds that such filing was

sufficient under Texas law”) (internal citation omitted), report and recommendation adopted, No.

4:11CV93, 2012 WL 1080864 (E.D. Tex. Mar. 30, 2012); Roberts v. Am.'s Wholesale Lender,

No. 2:11-CV-597-DB-SA, 2012 WL 1379203, at *3–4 (D. Utah Mar. 22, 2012) (also

recognizing that AWL is Countrywide’s trade name and rejecting plaintiff’s conclusory

allegations to the contrary), report and recommendation adopted, No. 2:11-cv-597, 2012 WL

1390188 (D. Utah Apr. 18, 2012), aff'd, 525 F. App'x 675 (10th Cir. 2013).

       The Court fails to see how Plaintiff can plausibly allege that AWL “never existed” while

simultaneously borrowing money from it. Pl. Resp. 5; Compl. ¶ 6. When analyzing the same

argument, a Texas trial court stated that the plaintiff did not deny “that this ‘non-existent’ lender

advanced him $119,000 to help purchase the real property that is the subject of the mortgage.

Moreover, Plaintiff admits that he owes the debt.” Sparks v. The Bank of New York Mellon, No.

H-14-813, 2015 WL 4093944, at *3 (S.D. Tex. July 7, 2015). Here too, Plaintiff does not deny

that AWL advanced her $288,000 to purchase her property. Compl. ¶ 6. Nor does she deny that

she owes the debt. Id. at ¶¶ 6–25. Plaintiff’s allegation that AWL was not a valid legal entity fails

to support a plausible claim and BANA’s motion to dismiss Claim I as to AWL is granted.

Compl. ¶ 28.E.

       B.      MERS

       Plaintiff seeks to invalidate the DOT and the non-judicial foreclosure sale on her property

on the grounds that MERS is not a valid beneficiary of the loan and its assignments as such were




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invalid. Compl. ¶¶ 6, 28.C. BANA argues that the DOT is valid even if MERS was not the

proper beneficiary. Plaintiff has plead a plausible claim for relief on this basis and BANA’s

motion to dismiss as to Claim I as to MERS is therefore denied.

       Under Oregon law, MERS cannot be the beneficiary of a DOT. “For purposes of ORS

86.735(1), the ‘beneficiary’ is the lender to whom the obligation that the trust deed secures is

owed or the lender’s successor in interest. Thus, an entity like MERS, which is not a lender, may

not be a trust deed’s ‘beneficiary,’ unless it is a lender’s successor in interest.” Brandrup v.

ReconTrust Co., 353 Or. 668, 689, 303 P.3d 301, 312 (2013). The DOT here states, “MERS is a

separate corporation that is acting solely as a nominee for Lender and Lender’s successors and

assigns. MERS is the beneficiary under this security instrument.” Laurick Decl., Ex. A, 1. Under

the “Transfer of Rights in the Property” heading of the DOT, it states that the security instrument

“secures to lender” the rights of repayment of the loan, all modifications of the Note, and

performance of Plaintiff’s covenants and agreements under the DOT and the Note. Id. at 2.

       The Oregon Supreme Court sitting en banc analyzed the same DOT language regarding

MERS and concluded that the true beneficiary of the DOT is the designated Lender, not MERS.

Niday v. GMAC Mortg., LLC, 353 Or. 648, 659, 302 P.3d 444, 450 (2013). The Niday court

held that MERS cannot be the beneficiary because the right of repayment and other covenants

are secured to the Lender. Id. at 659, 302 P.3d at 450 (“A ‘beneficiary’ for purposes of the

OTDA is the person to whom the obligation that the trust deed secures is owed. At the time of

origination, that person is the lender.”). Therefore, the beneficiary in this case was the designated

Lender in the DOT: AWL. AWL is the assumed business name of Countrywide and

Countrywide’s successor in interest is BANA. Compl. ¶ 4. Thus, BANA is likely the DOT’s

designated beneficiary as Countrywide’s ultimate successor in interest. “It follows that, because




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MERS is neither the trustee nor the beneficiary, it holds no interest at all in the lien conveyed by

the trust deed.” Bandrup, 353 Or. at 703, 303 P.3d at 320; see also Roisland v. Flagstar Bank,

FSB, 989 F. Supp. 2d 1095, 1103–04 (D. Or. Nov. 13, 2013) (holding that the holder of the

beneficial interest of the DOT was the lender, not MERS). “Because MERS does not qualify as

the beneficiary, an assignment in such capacity is invalid.” Bandrup, 353 Or. at 707, 303 P.3d at

322; ORS 86.705(2); 86.735(1). Consequently, MERS’s assignments of the DOT to BONYM are

likely invalid.

         Alternatively, BANA argues that even if the assignments from MERS are invalid, MERS

could have validly acted as the true beneficiary’s agent. Def. Mot. to Dismiss, 9. “[E]ven if

MERS lacks authority to act as the trust deed's beneficiary, it may have authority to act on behalf

of the beneficiary if it can demonstrate that it has an agency relationship with the beneficiary and

that the agency agreement is sufficiently expansive.” Niday, 353 Or. at 664, 302 P.3d at 453.

MERS’s capacity as the beneficiary’s agent “depends on who succeeded to the lender’s rights,

whether those persons manifested consent that MERS act on their behalf and subject to their

control, and whether MERS has agreed to so act.” Id. Here, the record is undeveloped as to

MERS’s potential status as the beneficiary’s agent and thus it is plausible that MERS did not

have the authority to act on the beneficiary’s behalf. BANA’s argument on this ground therefore

fails.

         Finally, BANA argues that “BONYM’s status as beneficiary derives not from any

assignment of the DOT but from its status as note-holder.” Def. Mot. to Dismiss, 9. Under

Oregon law, “when a promissory note changes hands the beneficial interest in a deed of trust

securing that promissory note ‘follows the promissory note that it secures’ by operation of law.”

Roisland, 989 F. Supp. 2d at 1103 (quoting Bandrup, 353 Or. at 694, 303 P.3d at 315). If




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BONYM is the valid Note-holder, then it “also became the holder of the beneficial interest in the

deed of trust securing that note by operation of law.” Id. (citing Niday, 353 Or. at 660–662, 302

P.3d at 451–452).

          Plaintiff alleges MERS assigned the Note and DOT to BONYM and that BONYM is the

Note holder. Compl. ¶¶ 6, 30. As discussed above, however, MERS does not qualify as a

beneficiary as to the DOT and its assignments as such are invalid. If BONYM is the Note-holder

then it “possesse[s] the right to appoint a successor trustee and to take all of the other actions

necessary to initiate the non-judicial foreclosure.” Romani v. Nw. Tr. Servs., Inc., No. 3:11-CV-

0382-PA, 2013 WL 6530583, at *2–3 (D. Or. Dec. 12, 2013), aff'd sub nom. Romani v. Wells

Fargo Bank, N.A., No. 14-35018, 2016 WL 4120699 (9th Cir. Aug. 3, 2016). However, the Note

has not been submitted to the Court and the record is insufficient to support granting dismissal on

this claim on this basis. See Niday, 353 Or. at 665, 302 P.3d at 453–54 (reversing the trial court’s

grant of summary judgment where the identity of the note-holder and its relationship with MERS

were not sufficiently established).

          In sum, Plaintiff has alleged a plausible claim for declaratory relief on the grounds that

MERS was not the proper beneficiary of the DOT and it did not have the authority to make

assignments or appoint a substitute trustee to conduct the non-judicial foreclosure. Compl.

¶ 28.C.

II.       Claim II: IIER

          Plaintiff alleges that BANA and Ditech intentionally interfered with her economic

relationships with the “beneficiaries of the Note and Deed of Trust.” Compl. ¶¶ 29–38. To make

out a valid IIER claim, Plaintiff must allege:

                 (1) the existence of a professional or business relationship (which
                 could include, e.g., a contract or a prospective economic



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               advantage, (2) intentional interference with that relationship, (3) by
               a third party, (4) accomplished through improper means or for an
               improper purpose, (5) a causal effect between the interference and
               damage to the economic relationship, and (6) damages.

McGanty v. Staudenraus, 321 Or. 532, 535, 901 P.2d 841, 844 (1995). The core of Plaintiff’s

IIER claim is that BANA and Ditech interfered with Plaintiff’s attempts to modify her mortgage

in order to generate fees at the expense of the Note and DOT beneficiaries’ investment. In other

words, Plaintiff alleges that she and the Note and DOT beneficiaries have a mutual economic

interest in the continuation of her mortgage that BANA and Ditech interfered with.

       As to BANA, the “third party” element has not been met regarding the beneficiary of the

DOT. Consistent with the discussion above, BANA is likely the beneficiary of the DOT. Plaintiff

alleges, in relevant part, that BANA is interfering with her relationship with the beneficiary of

the DOT. It stands to reason then, that BANA cannot be a third party interfering in its own

relationship with Plaintiff. Insofar as Plaintiff’s Complaint alleges that BANA interfered in its

own economic relationship with Plaintiff, the Complaint fails. To the extent that Plaintiff asserts

that BANA interfered with Plaintiff’s economic relationship with another entity, however,

Plaintiff has stated a plausible claim. Consequently, the Court denies BANA’s motion to dismiss

Claim II regarding BANA because it is plausible that other entities may be the beneficiaries of

the DOT and Note.

       The Court finds that Plaintiff has otherwise pleaded a plausible claim for IIER and denies

BANA’s motion to dismiss. On a motion to dismiss, the Court must accept the allegations from

the Complaint as true and construe them in the light most favorable to the non-moving party.

Wilson, 668 F.3d at 1140. Defendants challenge the existence of a shared “prospective economic

advantage” between Plaintiff and the beneficiaries of the Note and DOT in providing her with a

loan modification. Def. Mot. to Dismiss, 10–11. BANA argues “[w]hether modifying a loan



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would be in the best interest of the beneficiary of the Note and [DOT] would depend entirely

upon the terms of the specific modification in question.” Id. at 11. The terms of a particular

modification are not dispositive of the issue of whether Plaintiff and the beneficiaries had a

“mutual prospective economic advantage in utilizing loss mitigation assistance programs.”

Compl. ¶ 32. Assuming that the mutual economic advantage existed in the continuation of

Plaintiff’s mortgage, Plaintiff has alleged a plausible claim that BANA and Ditech intentionally

mishandled her modification applications to generate increased fees. As a result of the alleged

interference, Plaintiff stated that she was unable to avail herself of a loan modification and

suffered serious financial consequences associated with the default on her loan. Compl. ¶¶ 37–

38. The Complaint contains sufficient factual allegations to support a plausible IIER claim and

BANA’s motion to dismiss Claim II is denied.

III.   Claim III: OUTPA Violation

       BANA argues that Plaintiff’s OUTPA claim fails because she does not cite to specific

conduct to support her conclusory allegations. Def. Mot. to Dismiss, 12–13. BANA argues that

Plaintiff provides no support for the following statements that BANA and Ditech “lacked any

financial incentive to modify the loans of homeowners” and “induced the Plaintiff to believe that

there were no workable loan modification programs available to them.” Id. To make out a valid

OUTPA claim, Plaintiff must allege that Defendants engaged in an unlawful practice. See O.R.S.

646.608(1)(u); Or. Admin. R. (“O.A.R.”) § 137-020-0805(3), (6) (defining unlawful practices

under OUTPA which includes unfair or deceptive conduct such as material misrepresentations

regarding loan modification and dealing with the borrower in bad faith).

       Regarding Defendants’ alleged lack of financial incentives, the Court agrees that Plaintiff

has not plead sufficient facts in her Complaint to support this allegation. Notwithstanding this




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deficiency, Plaintiff alleged sufficient facts to support her claim that BANA and Ditech induced

her into believing that there were no loan modifications available to her. Plaintiff alleged several

instances where BANA and Ditech rejected her loan modification attempts. Compl. ¶¶ 10–22.

Plaintiff also alleged several forms of misconduct regarding the mishandling of her modification

applications. Compl. ¶ 34. These allegations are sufficient to sustain Plaintiff’s OUTPA claim.

See O.R.S. 646.608(1)(u); O.A.R. 137-020-0805(3), (6).

       BANA also argues that Plaintiff’s OUTPA claim is barred by the statute’s one year

limitations period. O.R.S. 646.638(6). This argument was raised for the first time in BANA’s

Reply and Plaintiff has not had an opportunity to respond to it. Arguments made for the first time

in a reply are improper and the Court has discretion whether to entertain such arguments.

Weaving v. City of Hillsboro, No. 10-CV-1432-HZ, 2012 WL 526425, at *15 n.5 (D. Or. Feb.

16, 2012). Accordingly, the Court will not address Defendants’ new argument raised in their

Reply. Id. Because Plaintiff has otherwise plead a plausible OUTPA claim, BANA’s motion to

dismiss Claim III is denied.

IV.    Claim IV: Breach of the Implied Covenant of Good Faith and Fair Dealing

       Plaintiff claims that Defendants breached the duty of good faith and fair dealing “implied

in every agreement” by mishandling Plaintiff’s modification application and demanding

paperwork. Compl. ¶¶ 47–48. Oregon law “imposes a duty of good faith and fair dealing in the

performance and enforcement of every contract. That duty serves to effectuate the objectively

reasonable expectations of the parties.” Hampton Tree Farms, Inc. v. Jewett, 320 Or. 599, 615,

892 P.2d 683, 693 (1995). The obligation of good faith and fair dealing exists only if there is an

enforceable contract and it does not vary the substantive terms of the agreement. Pac. First Bank

v. New Morgan Park Corp., 319 Or. 342, 352–53, 876 P.2d 761, 767 (1994).




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       Plaintiff concedes that there is no provision in the Note or DOT “stating that a borrower

will be reviewed for a loan modification if they default on their payments.” Pl. Resp., 11–12.

Notwithstanding that concession, Plaintiff argues that a provision in DOT stating that the Lender

can “accept payments for less than the total payment” taken with oral representations by BANA

that it had opted to modify the payments gave rise to the implied duty of good faith and fair

dealing. Pl. Resp., 12.

       Plaintiff has not plead sufficient factual content to support her claim that an enforceable

contract to modify her loan existed. As previously stated, the Court judicially noticed the DOT.

The DOT does not contain the provision that Plaintiff claims. Plaintiff’s misstatement of the

DOT’s terms is not fatal to her claim as other provisions state that the Lender may accept partial

payment. Those provisions alone are insufficient, however, to support a claim that an agreement

existed between the parties to modify Plaintiff’s loan upon her default. See Davis v. Pacific Saw

& Knife Co., No. CV-08-676-HU, 2008 WL 4319981, at *2 (D. Or. Sept. 16, 2008) (holding that

in the absence of an express contract between the plaintiff and the defendant, a plaintiff cannot

bring a claim for breach of the covenant of good faith and fair dealing). Consequently,

Defendants did not owe Plaintiff an implied duty of good faith and fair dealing as she claims.

       Plaintiff did not include allegations of BANA’s oral representations in the Complaint and

requests leave to amend her claim to include them. Pl. Resp., 12. Defendants argue that

Plaintiff’s request for leave to amend should be denied because oral representations made by

BANA are barred under the statute of frauds. Under Oregon law, “‘[a]n agreement, promise or

commitment to lend money,’ is only valid where the agreement ‘or some note or memorandum

thereof, expressing the consideration, is in writing and subscribed by the party to be

charged. . . .’” Walchli v. Cmty. Bank, No. CIV.09-359-AC, 2010 WL 2164874, at *8 (D. Or.




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Mar. 16, 2010) (quoting O.R.S. 41.580(1)(h) (2007), report and recommendation adopted in part,

No. CV 09-359-AC, 2010 WL 2105163 (D. Or. May 25, 2010), aff'd, 433 F. App'x 543 (9th Cir.

2011). In this case, BANA’s oral statements that Plaintiff seeks leave to allege purportedly

modify the terms of her mortgage and are subject to the statute of frauds. Plaintiff’s request to

amend her Complaint to include these oral representations is denied as futile. The Court grants

BANA’s motion to dismiss this claim.

                                          CONCLUSION

       BANA’s motion to dismiss [48] is granted in part. As to Claim I: BANA’s motion is

granted with respect to Plaintiff’s requests for declaratory relief on the grounds that AWL is not

a valid legal entity; the Motion regarding MERS’s status as the DOT’s beneficiary is denied. As

to Claim II, BANA’s motion regarding Plaintiff’s IIER claim is denied. As to Claim III, BANA’s

motion regarding Plaintiff’s OUTPA claim is denied. As to Claim IV, BANA’s motion is granted

on Plaintiff’s claim for breach of the implied covenant of good faith and fair dealing and the

claim is dismissed with prejudice. Plaintiff’s request for leave to amend Claim IV is denied.



               Dated this       day of ______________________, 2016.




                                                      MARCO A. HERNÁNDEZ
                                                      United States District Judge




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